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                                                                          IN THE UNITED STATES DISTRICT COURT
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                                                                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                               NUANCE COMMUNICATIONS, INC.,                            No. C 08-2912 MEJ
For the Northern District of California




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                                                              Plaintiff(s),                            ORDER FOR PARTIES TO APPEAR
    United States District Court




                                          12                                                           FOR MEET AND CONFER SESSION
                                                 vs.
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                                               ABBYY SOFTWARE HOUSE, et al.,
                                          14
                                                              Defendant(s).
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                                                       The Court is in receipt of Plaintiff's Request for Telephonic Conference, filed on February
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                                               27, 2009. (Dkt. #77.) Pursuant to Magistrate Judge James' discovery standing order, as to any
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                                               discovery dispute, the parties must meet and confer in person and, if unable to resolve the dispute,
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                                               file a joint letter. As it appears that the parties have been unable to comply with the standing order,
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                                               the Court hereby ORDERS the parties to appear for an in-person meet and confer session in
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                                               Courtroom B, located on the 15th Floor of the Federal Building, 450 Golden Gate Ave, San
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                                               Francisco, California 94102. The parties shall file a joint availability statement, in which they
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                                               provide three dates on which they are both available, by March 9, 2009.
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                                                       At the meet and confer session, the parties should come prepared to meaningfully discuss and
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                                               resolve their outstanding discovery dispute(s). In the event that the parties are unable to resolve
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                                               their disputes, they shall draft a joint letter at the meet and confer session in compliance with this
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                                               Court's standing order and said letter shall be presented by the parties for filing at the conclusion of
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                                                   Case 3:08-cv-02912-JSW Document 79 Filed 03/03/09 Page 2 of 2



                                           1   the session. Thus, the parties are ORDERED to bring with them one laptop and an auxiliary storage
                                           2   medium, such as a USB port thumb drive, to use in drafting said letter. The parties are advised that
                                           3   they will not meet with the undersigned during or after the meet and confer session.
                                           4          However, if the parties are able to meet and confer in person and thereafter either resolve
                                           5   their dispute(s) or file any necessary joint meet and confer letters before March 9, the parties shall
                                           6   jointly request that the Court vacate this Order.
                                           7          IT IS SO ORDERED.
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                                           9   Dated: March 3, 2009
                                                                                                         MARIA-ELENA JAMES
                                          10                                                             United States Magistrate Judge
For the Northern District of California




                                          11
    United States District Court




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